                  Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 1 of 16




                                       IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-cr-00098-CMA-01

UNITED STATES OF AMERICA,

              Plaintiff,

v.

LEONARD LUTON,

     Defendant.

_________________________________________________________________________________________________

              GOVERNMENT’S FINAL JAMES PROFFER LOG UNDER FED.R.EVID. 801(d)(2)(E)
_________________________________________________________________________________________________

        The United States of America, by and through Martha A. Paluch and Sarah H. Weiss, Assistant United States

Attorneys for the United States Attorney’s Office for the District of Colorado (the “government”), hereby submits its Final

James Proffer Log, which contains the defendant’s response to each of the government’s proffered statements. 1 As


        1
         The government has labeled this pleading as its Final James Proffer Log to indicate that it contains the
defendant’s response to each of the government’s proffered statements as set forth in its original Log filed on January 8,
2020, at ECF 75. As noted in its Memorandum in Support of its James Proffer, ECF 76, the government may attempt to
offer at trial additional statements, not currently in the government’s possession or of which the government is not
                                                              1
                   Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 2 of 16




requested by the Court, copies of the documents containing the statements for which the government seeks admission

are contained in Attachment 1 to this filing.

SECTION 1: Government’s Initial Proffer as to Conspiracy

         The government’s initial proffer as to the existence of the conspiracy is set forth in the Government’s Memorandum

in Support of its James Proffer at pages 7-18, filed on January 8, 2020, ECF 76. The following statements were made by

the defendant’s co-conspirator, Rajay Dobson, to the defendant via messaging applications. These messages were

retrieved from the defendant’s cellphone. Certain statements made by the defendant are included for context.

SECTION 2: Government’s Proffer as to Specific Statements

    Statement # 1                            Declarant       Date       Source        Basis for Admission 2
    Dixonreggie1296                          Luton           3/1/18     Cellebrite    FRE 801(d)(2)(A)
    1296pacific 3                                                       CELL_00000001 Context for Statement #3


       Defendant’s Objections to Statement # 1
       None, if offered as an exclusion under FRE 801(d)(2)(A).




currently aware, which may be discovered in the course of trial preparation. If such statements are discovered pre-trial,
the government will request leave to file a supplemental list of additional out-of-court statements it intends to offer at trial.
2 The letters designated as “Basis for Admission” are those enumerated and fully set forth in the concurrently filed
Government’s Memorandum in Support of its James Proffer at pages 5-6 of that document.
3
  This is the password for the 702-726-2033 number Frank White used to call S.O., which is referenced in Statement # 2.
                                                                  2
                    Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 3 of 16




    Statement # 2                           Declarant             Date      Source          Basis for Admission
    Jack phone number is 7027262033         Luton                 3/1/18    Cellebrite      FRE 801(d)(2)(A)
                                                                            CELL_00000001   Context for Statement #3


       Defendant’s Objections to Statement # 2
       None, if offered as an exclusion under FRE 801(d)(2)(A).




    Statement # 3                           Declarant             Date      Source          Basis for Admission
    Chop                                    Dobson                3/1/18    Cellebrite      a, b, d, e, f. h, i
                                                                            CELL_00000001


       Defendant’s Objections to Statement # 3
       Objection Bases for Exclusion a, b, c.



    Statement # 4                           Declarant             Date      Source          Basis for Admission
    1ze082774155097523 4                    Dobson                7/27/18   Cellebrite      a, b, d, f, g, k
                                                                            CELL_00000002


       Defendant’s Objections to Statement # 4
       Objection Bases for Exclusion a, b, c.


4
 Numbers such as this that appear throughout this pleading represent tracking numbers for shipments mailed by S.O.
using either UPS or Fed Ex.
                                                                     3
                Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 4 of 16




Statement # 5                       Declarant         Date       Source          Basis for Admission
Up top                              Luton             7/27/18    Cellebrite      FRE 801(d)(2)(A)
                                                                 CELL_00000002   Response to Statement # 4


   Defendant’s Objections to Statement # 5
   None, if offered as an exclusion under FRE 801(d)(2)(A).



Statement # 6                       Declarant          Date      Source          Basis for Admission
450 Chaplin lane Estes park co      Dobson             8/20/18   Cellebrite      a, b, d, e, f, g, k
80517                                                            CELL_00000005


   Defendant’s Objections to Statement # 6
   Objection Bases for Exclusion a, b, c.



Statement # 7                        Declarant        Date       Source          Basis for Admission
782401389797                         Dobson           8/21/18    Cellebrite      a, b, d, e, f, g, k
                                                                 CELL_00000005


   Defendant’s Objections to Statement # 7
   Objection Bases for Exclusion a, b, c.




                                                         4
                Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 5 of 16




Statement # 8                        Declarant         Date      Source          Basis for Admission
782425727628                         Dobson            8/22/18   Cellebrite      a, b, d, e, f, g, k
                                                                 CELL_00000008


   Defendant’s Objections to Statement # 8
   Objection Bases for Exclusion a, b, c.



Statement # 9                       Declarant          Date      Source          Basis for Admission
Chop                                Luton              8/22/18   Cellebrite      FRE 801(d)(2)(A)
                                                                 CELL_00000008   Response to Statement # 8


   Defendant’s Objections to Statement # 9
   None, if offered as an exclusion under FRE 801(d)(2)(A).



Statement # 10                       Declarant        Date       Source          Basis for Admission
782531341581                         Dobson           8/29/18    Cellebrite      a, b, d, e, f, g, k
                                                                 CELL_00000009


   Defendant’s Objections to Statement # 10
   Objection Bases for Exclusion a, b, c.




                                                         5
              Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 6 of 16




Statement # 11                      Declarant          Date      Source          Basis for Admission
Kool                                Luton              8/29/18   Cellebrite      FRE 801(d)(2)(A)
                                                                 CELL_00000009   Response to Statement # 10


   Defendant’s Objections to Statement # 11
   None, if offered as an exclusion under FRE 801(d)(2)(A).



Statement # 12                       Declarant         Date      Source          Basis for Admission
782608227498                         Dobson            9/4/18    Cellebrite      a, b, d, e, f, g, k
                                                                 CELL_00000010


   Defendant’s Objections to Statement # 12
   Objection Bases for Exclusion a, b, c



Statement # 13                       Declarant         Date      Source          Basis for Admission
782658697114                         Dobson            9/6/18    Cellebrite      a, b, d, e, f, g, k
                                                                 CELL_00000011


   Defendant’s Objections to Statement # 13
   Objection Bases for Exclusion a, b, c.




                                                         6
              Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 7 of 16




Statement # 14                      Declarant         Date       Source          Basis for Admission
Up top                              Luton             9/6/18     Cellebrite      FRE 801(d)(2)(A)
                                                                 CELL_00000011   Response to Statement # 13


   Defendant’s Objections to Statement # 14
   None, if offered as an exclusion under FRE 801(d)(2)(A).



Statement # 15                       Declarant         Date      Source          Basis for Admission
782940407140                         Dobson            9/25/18   Cellebrite      a, b, d, e, f, g, k
                                                                 CELL_00000013


   Defendant’s Objections to Statement # 15
   Objection Bases for Exclusion a, b, c.



Statement # 16                      Declarant          Date      Source          Basis for Admission
1225 west eisen hower blvd          Dobson             10/2/18   Cellebrite      a, b, d, e, f, g
                                                                 CELL_00000016


   Defendant’s Objections to Statement # 16
   Objection Bases for Exclusion a, b, c.




                                                         7
              Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 8 of 16




Statement # 17                      Declarant          Date      Source          Basis for Admission
450 chapin lane Estes Park co       Dobson             10/2/18   Cellebrite      a, b, d, e, f, g, k
80517                                                            CELL_00000020


   Defendant’s Objections to Statement # 17
   Objection Bases for Exclusion a, b, c.



Statement # 18                      Declarant         Date       Source          Basis for Admission
Chop                                Luton             10/2/18    Cellebrite      FRE 801(d)(2)(A)
                                                                 CELL_00000020   Response to Statement # 17


   Defendant’s Objections to Statement # 18
   None, if offered as an exclusion under FRE 801(d)(2)(A).



Statement # 19                       Declarant         Date      Source          Basis for Admission
783366336132                         Dobson            10/2/18   Cellebrite      a, b, d, e, f, g, k
                                                                 CELL_00000024


   Defendant’s Objections to Statement # 19
   Objection Bases for Exclusion a, b, c.




                                                         8
              Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 9 of 16




Statement # 20                      Declarant          Date       Source          Basis for Admission
783488291612                        Dobson             10/30/18   Cellebrite      a, b, d, e, f, g, k
                                                                  CELL_00000026


   Defendant’s Objections to Statement # 20
   Objection Bases for Exclusion a, b, c.



Statement # 21                       Declarant         Date       Source          Basis for Admission
1ze082770190919671                   Dobson            11/5/18    Cellebrite      a, b, d, e, f, g, k
                                                                  CELL_00000028


   Defendant’s Objections to Statement # 21
   Objection Bases for Exclusion a, b, c



Statement # 22                       Declarant         Date       Source          Basis for Admission
Fed?                                 Luton             11/5/18    Cellebrite      Question – not hearsay
                                                                  CELL_00000028   Context for Statement # 23




   Defendant’s Objections to Statement # 22
   None, if offered as an exclusion under FRE 801(d)(2)(A).




                                                         9
             Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 10 of 16




Statement # 23                       Declarant         Date      Source          Basis for Admission
U                                    Dobson            11/5/18   Cellebrite      a, b, d, e, f, g, k
                                                                 CELL_00000028


   Defendant’s Objections to Statement # 23
   Objection Bases for Exclusion a, b, c.



Statement # 24                       Declarant         Date      Source          Basis for Admission
Tom white                            Dobson            11/6/18   Cellebrite      a, b, d, e, f, g, k
                                                                 CELL_00000029



   Defendant’s Objections to Statement # 24
   Objection Bases for Exclusion a, b, c.



Statement # 25                       Declarant         Date      Source          Basis for Admission
Ok                                   Luton             11/6/18   Cellebrite      FRE 801(d)(2)(A)
                                                                 CELL_00000029   Response to Statement # 24


   Defendant’s Objections to Statement # 25
   None, if offered as an exclusion under FRE 801(d)(2)(A).




                                                         10
            Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 11 of 16




Statement # 26                    Declarant    Date       Source          Basis for Admission
1ze082770190958192                Dobson       11/7/18    Cellebrite      a, b, d, e, f, g, k
                                                          CELL_00000029




   Defendant’s Objections to Statement # 26
   Objection Bases for Exclusion a, b, c.



Statement # 27                    Declarant    Date       Source          Basis for Admission
1ze082770154467290                Dobson       11/8/18    Cellebrite      a, b, d, e, f, g, k
                                                          CELL_00000029



   Defendant’s Objections to Statement # 27
   Objection Bases for Exclusion a, b, c.



Statement # 28                    Declarant    Date       Source          Basis for Admission
773793266629                      Dobson       11/23/18   Cellebrite      a, b, d, e, f, g, k
                                                          CELL_00000030


   Defendant’s Objections to Statement # 28
   Objection Bases for Exclusion a, b, c.




                                                 11
              Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 12 of 16




Statement # 29                         Declarant   Date       Source          Basis for Admission
784048214190                           Dobson      11/28/18   Cellebrite      a, b, d, e, f, g, k
                                                              CELL_00000030


   Defendant’s Objections to Statement # 29
   Objection Bases for Exclusion a, b, c.



Statement # 30                         Declarant   Date       Source          Basis for Admission
So, what he said he was going to       Dobson      3/6/18     INV_00002596    a, b, c, d, e, f, g, h, i, l
do, he is going to max out the card
and close them, and order fo-four
more. . . .
You’re going to get one of them,
man.


   Defendant’s Objections to Statement # 30
   Objection Bases for Exclusion a, b, c.



Statement # 31                         Declarant   Date       Source          Basis for Admission
Yeah, supposed to, because it was      Dobson      9/27/18    INV_00002596    a, b, c, d, e, f, g, l
the same one you had done it to the
last time. . . .Remember that is the
one it went to the last time. We had
put the grand to that. A grand or
was it fifteen bills? One of them.


                                                    12
               Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 13 of 16




   Defendant’s Objections to Statement # 31
   Objection Bases for Exclusion a, b, c.



Statement # 32                         Declarant   Date       Source         Basis for Admission
Yeah, doing the road, general.         Dobson      10/2/18    INV_00002596   a, b, d, e, f, g, l
Nebraska here now

   Defendant’s Objections to Statement # 32
   Objection Bases for Exclusion a, b, c.



Statement # 33                         Declarant   Date       Source         Basis for Admission
I could make her get some bills. . .   Dobson      02/18/18   INV_00002596   a, b, d, e, f, g, l
.Because right now I do not have
anything else dealing with.

   Defendant’s Objections to Statement # 33
   Objection Bases for Exclusion a, b, c.




                                                    13
               Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 14 of 16




Statement # 34                            Declarant   Date      Source         Basis for Admission
It’s supposed to be five you have         Dobson      1/12/19   INV_00002597   a, b, c, d, e, f, g, h, i, k, l
left back there because you had . . .
What? Nineteen. You sent two to
me. . . And you had back
seventeen, and you stayed like that,
and sent the the the other two
again. . . Today. So I got four in all,
you gave the nigga ten. Eh-hm. So,
you’re supposed to have five left
back there for me. So, you can
send him a –an eight fifty, bad man,
out of it because it’s one grand he
would have left back there.

    Defendant’s Objections to Statement # 34
    Objection Bases for Exclusion a, b, c.



Statement # 35                            Declarant   Date      Source         Basis for Admission
So, continue taking care of yourself,     Dobson      1/12/19   INV_00002597   a, b, c, d, e, f, g, i, k
brother.

    Defendant’s Objections to Statement # 35
    Objection Bases for Exclusion a, b, c.




                                                       14
              Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 15 of 16




Statement # 36                       Declarant          Date       Source             Basis for Admission
Yeah my general, just let her give   Dobson             10/4/18    INV_00002597       a, b, c, d, e, f, g, i, k
you that right now. So, it can be
ready by tomorrow.

   Defendant’s Objections to Statement # 36
   Objection Bases for Exclusion a, b, c.




                                                 JASON R. DUNN

                                                 United States Attorney

                                                 By:s/Martha A. Paluch
                                                 MARTHA A. PALUCH
                                                 SARAH H. WEISS
                                                 Assistant U.S. Attorneys
                                                 1801 California Street, Suite 1600
                                                 Denver, Colorado 80202
                                                 (303) 454-0100
                                                 (303) 454-0409 (fax)
                                                 Email: Martha.Paluch@usdoj.gov
                                                 Attorneys for Government




                                                         15
                Case 1:19-cr-00098-CMA Document 89 Filed 01/27/20 USDC Colorado Page 16 of 16




                                                 CERTIFICATE OF SERVICE


       I hereby certify that on this 27th day of January, 2020, I electronically filed the foregoing with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to counsel of record.




                                                         s/Martha A. Paluch
                                                         Martha A. Paluch
                                                         Assistant U.S. Attorney
                                                         United States Attorney’s Office
                                                         1801 California Street, Suite 1600
                                                         Denver, CO 80202
                                                         (303) 454-0100
                                                         Martha.paluch@usdoj.gov




                                                               16
